MANDATE
                   Case
                Case     20-2069, Document
                     1:19-cr-00725-JPO     34, 10/29/2020,
                                       Document            2963778,
                                                   139 Filed        Page1
                                                             10/29/20 Pageof11of 119-cr-275-c(JPO)


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                                   UNITED STATES COURT OF APPEALS                               ELECTRONICALLY FILED
                                                 FOR THE                                        DOC #:   _________________
                                                                                                DATE FILED: ______________
                                            SECOND CIRCUIT
                               ____________________________________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
     the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
     the 29th day of October, two thousand twenty,

     ____________________________________

     In re: David Correia,                                               ORDER
                                                                         Docket No. 20-2069
     lllllllllllllllllllllPetitioner.
     -----------------------------------------------------------------

     David Correia,

     llllllllllllllllllllllPetitioner,

     v.

     United States of America,

     lllllllllllllllllllllRespondent.
     _______________________________________

            The parties in the above-referenced case have filed a stipulation withdrawing this appeal
     pursuant to FRAP 42.

             The stipulation is hereby "So Ordered".




                                                                     For The Court:
                                                                     Catherine O'Hagan Wolfe,
                                                                     Clerk of Court




MANDATE ISSUED ON 10/29/2020
